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 6                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 7
                                          AT TACOMA
 8
     ALICIA SWEARINGEN and DAVID                        Case No.: 3:18-cv-05727-TSZ
 9   SWEARINGEN, on their own behalf and on
     behalf of their minor child, L.S.,
10
                             Plaintiffs,                ORDER
11

12          v.

13   NORTH THURSTON SCHOOL DISTRICT,

14                           Defendant.
15

16               Plaintiffs’ unopposed motion, docket no. 59, for approval of minor settlement, is
17
     GRANTED, and it is hereby ORDERED:
18
                 1. The proposed settlement of $905,000.00 to settle the claims of L.S., a minor, and
19
                    L.S.’s parents, Alicia Swearingen and David Swearingen, is approved.
20
                 2. The parents are authorized to execute a release of L.S.’s claim or claims against
21

22                  defendant North Thurston School District.

23               3. The attorney’s fees in the amount of $301,666.67, which represent one-third of the

24                  gross settlement, are reasonable and approved.
25               4. Corr Cronin LLP’s costs in the amount of $39,999.75 are reasonable and approved.

                                                                            Cedar Law PLLC
     ORDER - 1                                                          113 Cherry Street, PMB 96563
                                                                               Seattle, WA 98154
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                                                                     Tel 206.607.8277 • Fax 206.237.9101
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                 5. Cedar Law PLLC’s costs in the amount of $14,514.50 are reasonable and approved.
 1
                 6. Pursuant to the parties’ agreement, the Settlement Guardian ad Litem’s fees and costs
 2

 3                  in the amount of $6,936.00 shall be paid by North Thurston School District or its

 4                  insurer within sixty (60) days of the entry of this Order.

 5               7. The settlement funds shall be disbursed as follows:
 6
                        Attorney’s fees jointly payable to Corr Cronin LLP
 7                      and Cedar Law PLLC                                                      $301,666.67

 8                      Costs to be reimbursed to Corr Cronin LLP                               $ 39,999.75

 9                      Costs to be reimbursed to Cedar Law PLLC                                $ 14,514.50
10                      Kaiser Permanente Subrogation Lien                                      $300,000.00
11
                        Net proceeds to be made payable to Alicia Swearingen                    $ 24,881.91
12
                        Net proceeds to be made payable to David Swearingen                     $ 24,881.91
13
                        Net proceeds to be placed into an account for L.S.                      $199,055.26
14                      with Lifetime Advocacy Plus Master Pooled Asset Trust
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                 8. L.S.’s account with the Master Pooled Asset Trust shall be administered by Lifetime
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                    Advocacy Plus (the “Trustee”). As a special needs trust, L.S.’s account will have no
17
                    specific termination date, but the trust instrument shall contain provisions for how
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                    any remaining assets shall be distributed if L.S.’s disability ends or upon L.S.’s death.
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20               9. The Trustee is authorized to distribute, without delay, up to $15,000 for the purchase

21                  of a vehicle for L.S.

22               10. Plaintiffs’ counsel shall obtain a Receipt of Deposit of Funds into the trust account,
23
                    shall open a trust reporting matter with the King County Superior Court, and shall
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                    file the Receipt in that matter.
25


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                 11. One year from the date of this Order, Alicia and David Swearingen shall submit a
 1
                    report to the King County Superior Court, which shall include an accounting
 2

 3                  regarding the settlement funds deposited in the Master Pooled Asset Trust. If the first

 4                  report and accounting is met with approval, subsequent reports shall be required

 5                  triennially (rather than annually), to reduce the administrative expense on the Trust.
 6
                 12. Both the Settlement Guardian ad Litem (Christopher M. Henderson of Brothers &
 7
                    Henderson, P.S.) and the parents are authorized to execute any document and enter
 8
                    into any agreement on L.S.’s behalf that is necessary to fulfill the provisions of this
 9
                    Order.
10

11               13. Upon the filing of the Receipt of Deposit of Funds with the King County Superior

12                  Court, the Settlement Guardian ad Litem shall be discharged from all duties and

13                  obligations in connection with his appointment in this matter.
14               14. The parties having reached a settlement in principle, which has been approved by the
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                    Court pursuant to Local Civil Rule 17(c), and the parties having identified no issue
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                    remaining for the Court’s determination, this case is hereby DISMISSED with
17
                    prejudice, provided that, in the event the proposed settlement is not perfected, any
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19
                    party may move, within sixty (60) days of the date of this Order, to reopen the matter

20                  and trial will be scheduled.

21               15. The Clerk is directed to send copies of this Order to all counsel of record and the
22                  Settlement Guardian ad Litem, and to CLOSE this case.
23

24

25


                                                                             Cedar Law PLLC
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                  Case 3:18-cv-05727-TSZ Document 60 Filed 10/28/21 Page 4 of 4




                  IT IS SO ORDERED.
 1
                  DATED this 27th day of October, 2021.
 2

 3

 4

 5                                                         A
                                                           Thomas S. Zilly
 6                                                         United States District Judge
 7
     Presented by:
 8
      CEDAR LAW, PLLC
 9

10    By:         _s/_Lara Hruska_______________________
                  Lara Hruska, WSBA No. 46531
11
                  Attorney for Plaintiffs
12
       CORR CRONIN LLP
13
       By:        s/ Steven W. Fogg                       ___
14                Steven W. Fogg, WSBA No. 23528
                  Attorneys for Plaintiffs
15

16   Approved as to Form:

17    Floyd Pflueger & Ringer, P.S.

18
      By:         _s/ Amanda Daylong___________________
19
                  Francis S. Floyd, WSBA No. 10642
20                Amanda Daylong, WSBA No. 48013
                  Attorneys for North Thurston School District
21

22

23

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                                                                           Cedar Law PLLC
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